Case 1:14-cr-20658-MGC Document 130 Entered on FLSD Docket 04/27/2017 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             Case No. 16-20561-Civ-COOKE/WHITE
                                     (14-20658-Cr-COOKE)

 PATROCINIO ALVAREZ,

        Movant,

 vs.

 UNITED STATES OF AMERICA,

       Respondent.
 _______________________________/
            ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND
       RECOMMENDATION AND DENYING CERTIFICATE OF APPEALABILITY
        THIS MATTER was referred to the Honorable Patrick A. White, United States
 Magistrate Judge, pursuant to 28 U.S.C. §636(b)(1)(B), Rules 8 and 10 of the Rules Governing
 Section 2255 Cases in the United States District Courts, and Administrative Order 2003-19 of
 this Court, for a ruling on all pre-trial, non-dispositive matters and for a Report and
 Recommendation on any dispositive matters (ECF No. 3). On April 11, 2017, Judge White
 issued a Report of Magistrate Judge (ECF No. 13) recommending that (i) Patrocinio Alvarez’s
 Motion to Vacate Sentence pursuant to 28 U.S.C. § 2255 (ECF No. 1) be denied, and (ii) no
 certificate of appealability issue.
        Movant did not file objections to Judge White’s Report, and the time to do so has
 passed. I have considered Judge White’s Report, the relevant legal authorities, and the record.
 I find Judge White’s Report clear, cogent, and compelling.
        It is therefore ORDERED and ADJUDGED that Judge White’s Report of Magistrate
 Judge (ECF No. 13) is AFFIRMED and ADOPTED. Accordingly, the Motion to Vacate
 Sentence (ECF No. 1) is DENIED. The Clerk is directed to CLOSE this case.
        It is FURTHER ORDERED and ADJUDGED that Petitioner has not demonstrated
 that “jurists of reason could disagree with the district court's resolution of his constitutional
 claims or that jurists could conclude the issues presented are adequate to deserve
 encouragement to proceed further.” Miller-El v. Cockrell, 537 U.S. 322, 326 (2003); accord Lott v.
 Attorney Gen., Fla., 594 F.3d 1296, 1301 (11th Cir. 2010) (explaining that a “petitioner need not
Case 1:14-cr-20658-MGC Document 130 Entered on FLSD Docket 04/27/2017 Page 2 of 2



 show he will ultimately succeed on appeal” in order to warrant a certificate of appealability).
 Accordingly, this Court DENIES a Certificate of Appealability in this case.
        DONE and ORDERED in chambers, at Miami, Florida, this 27TH day of April 2017.




 Copies furnished to:
 Patrick A. White, U.S. Magistrate Judge
 Patrocinio Alvarez, pro se
 Counsel of record
